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                                                   UNITED STATES DISTRICT COURT
                         7                        EASTERN DISTRICT OF CALIFORNIA
                                                        SACRAMENTO DIVISION
                         8

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                       10     UNITED STATES OF AMERICA,
                       11                  Plaintiff,                   CR S. 04-0004 MCE
                       12             v.                                STIPULATION AND ORDER
                                                                        TO CONTINUE HEARING
                       13     DAVID DEAN DAVIDSON and
                              CYNTHIA BARCELO BLAKE,                    Date: July 26, 2005
                       14                                               Time: 8:30 a.m.
                                           Defendants.                  Judge: England
                       15                                     /
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                       17             THE PARTIES HEREBY STIPULATE AND AGREE that the status
                       18     conference now scheduled for July 26, 2005, at 8:30 a.m., shall
                       19     be continued to September 6, 2005, at 8:30 a.m. for an
                       20     anticipated change of plea.      Assistant United States Attorney
                       21     Matthew Stegman will be in trial on the presently scheduled
                       22     date.    In addition, the parties are actively working toward a
                       23     final disposition in this matter, and require additional time.
                       24             The parties further stipulate and agree that pursuant to
                       25     the Speedy Trial Act, 18 U.S.C. § 3161(h)(8)(A) & (B)(iv), time
                       26     is excluded from July 26, 2005, to August 23, 2005, to allow
                       27     ///
PIER 5 LAW OFFICES
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                         28   ///
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                              Case 2:04-cr-00004-MCE Document 64 Filed 07/28/05 Page 2 of 2


                         1    continuity of counsel and reasonable time for counsel effec-
                         2    tively to prepare.
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                              /s/MATTHEW STEGMAN                      /s/SHARI L. GREENBERGER
                         5    MATTHEW STEGMAN                         SHARI L. GREENBERGER
                              Assistant U.S. Attorney                 Attorney for CYNTHIA BLAKE
                         6    Dated: July 22, 2005                    Dated: July 22, 2005
                         7

                         8
                              /s/OMAR FIGUEROA
                         9    OMAR FIGUEROA
                              Attorney for DAVID DAVIDSON
                       10     Dated: July 22, 2005
                       11

                       12          IT IS SO ORDERED.
                       13     Dated: July 27, 2005
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                                                                MORRISON C. ENGLAND, JR
                       17                                       UNITED STATES DISTRICT JUDGE

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